                 5:18-bk-71902 Doc#: 69 Filed: 04/18/19 Entered: 04/18/19 09:45:38 Page 1 of 10
               Fill in this information to identify your case and this filing:

 Debtor 1                    Jason Michael Buschlen
                             First Name                             Middle Name                     Last Name

 Debtor 2                    Kyra Anne Buschlen
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     WESTERN DISTRICT OF ARKANSAS, FAYETTEVILLE DIVISION

 Case number            5:18-bk-71902                                                                                                                        Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
   Yes.        Where is the property?




 1.1                                                                        What is the property? Check all that apply


        305 NW Tall Oaks Ave
                                                                               Single-family home                             Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                                    Duplex or multi-unit building
        Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative
                                                                              
                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Bentonville                       AR        72712-4489                     Land                                       entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                              $400,000.00                 $400,000.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.

                                                                               Debtor 1 only
                                                                                   Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                                   At least one of the debtors and another
                                                                                                                                  (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:

                                                                            Residence


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                         $400,000.00
 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
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 Debtor 1
 Debtor 2         Buschlen, Jason Michael & Buschlen, Kyra Anne                                                Case number (if known)     5:18-bk-71902

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1    Make:      Honda                                   Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:     Civic 4Dr                               Debtor 1 only                                             Creditors Who Have Claims Secured by Property .
         Year:      2016                                     Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                  At least one of the debtors and another

                                                             Check if this is community property                              $20,000.00                 $20,000.00
                                                               (see instructions)



  3.2    Make:      Mercedes-Benz                           Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:     GL-Class                                Debtor 1 only                                             Creditors Who Have Claims Secured by Property .
         Year:      2007                                     Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                  At least one of the debtors and another

                                                             Check if this is community property                              $10,000.00                 $10,000.00
                                                               (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                $30,000.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   Misc.household goods and furnishings including but not limited
                                   to living room furniture, bedroom furnishings, misc.
                                   kitchenwares and appliances, washer and dryer, patio furniture,
                                   dining room furniture, pump organ, misc. tools for household
                                   use, lawnmower and misc. yard tools, misc. paintings, knick
                                   knacks, etc.                                                                                                             $5,020.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
    Yes.     Describe.....
                                   3 televisions, dvd players, computers, playstation and games                                                             $2,100.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                        page 2
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 Debtor 1
 Debtor 2          Buschlen, Jason Michael & Buschlen, Kyra Anne                                                            Case number (if known)   5:18-bk-71902

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.       Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
    Yes.        Describe.....
                                            Skateboards, misc. sporting goods                                                                                         $100.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.       Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.        Describe.....
                                            Misc. clothing                                                                                                            $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    Yes.        Describe.....
                                            Wedding set and misc. costume jewelry                                                                                     $600.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
    Yes.        Describe.....
                                            Bassett hound - family pet                                                                                                   $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                               $8,320.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:
Official Form 106A/B                                                                     Schedule A/B: Property                                                           page 3
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 Debtor 1
 Debtor 2        Buschlen, Jason Michael & Buschlen, Kyra Anne                                                  Case number (if known)   5:18-bk-71902


                                        17.1.    Checking Account             Capitol One Bank                                                              $0.00



                                        17.2.    Savings Account              Capitol One Bank                                                              $2.08



                                        17.3.    Checking Account             Capital One Bank                                                             $49.92



                                        17.4.    Savings Account              Capital One                                                                   $0.04


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                           Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                        Type of account:                      Institution name:
                                                                              401k Acosta, Inc.                                                          $1,500.00


22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.     Give specific information about them...
Official Form 106A/B                                                   Schedule A/B: Property                                                                page 4
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 Debtor 1
 Debtor 2       Buschlen, Jason Michael & Buschlen, Kyra Anne                                           Case number (if known)      5:18-bk-71902


27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.    Give specific information about them...

 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
    No
    Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

                                                       2017 Federal Income Tax Refund                                                                    $534.00

                                                       2017 Arkansas Income Tax Refund -
                                                           subject to set off                                                                         $1,533.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
    Yes.     Give specific information..
                                                    Refund of Chapter 13 plan payments                                                                $3,090.00


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                        Company name:                                          Beneficiary:                              Surrender or refund
                                                                                                                                         value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.    Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.    Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.    Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.    Give specific information..




Official Form 106A/B                                            Schedule A/B: Property                                                                      page 5
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 Debtor 1
 Debtor 2         Buschlen, Jason Michael & Buschlen, Kyra Anne                                                                         Case number (if known)   5:18-bk-71902

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................                   $6,709.04

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2 ......................................................................................................................              $400,000.00
 56. Part 2: Total vehicles, line 5                                                                           $30,000.00
 57. Part 3: Total personal and household items, line 15                                                       $8,320.00
 58. Part 4: Total financial assets, line 36                                                                   $6,709.04
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $45,029.04              Copy personal property total           $45,029.04

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $445,029.04




Official Form 106A/B                                                               Schedule A/B: Property                                                                           page 6
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              Fill in this information to identify your case:

 Debtor 1                 Jason Michael Buschlen
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


                                                    WESTERN DISTRICT OF ARKANSAS, FAYETTEVILLE
 United States Bankruptcy Court for the:            DIVISION

 Case number           5:18-bk-71902
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions.          11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

 Debtor 1 Exemptions
                                                                                                                                  11 USC § 522(d)(1)
      305 NW Tall Oaks Ave
                                                                   $400,000.00                                   $11,825.00
      Bentonville AR, 72712-4489                                                             100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                             any applicable statutory limit

      Mercedes-Benz                                                                                                               11 USC § 522(d)(5)
      GL-Class
                                                                    $10,000.00                                     $6,225.00
      2007                                                                                   100% of fair market value, up to
      Line from Schedule A/B: 3.2                                                             any applicable statutory limit

      Mercedes-Benz                                                                                                               11 USC § 522(d)(2)
      GL-Class
                                                                    $10,000.00                                     $3,775.00
      2007                                                                                   100% of fair market value, up to
      Line from Schedule A/B: 3.2                                                             any applicable statutory limit

      Misc.household goods and                                                                                                    11 USC § 522(d)(3)
      furnishings including but not limited
                                                                      $5,020.00                                    $2,510.00
      to living room furniture, bedroom                                                      100% of fair market value, up to
      furnishings, misc. kitchenwares and                                                     any applicable statutory limit
      appliances, washer and dryer, patio
      furniture, dining room furniture,
      pump organ, misc. tools for
      household use, lawnmower
      Line from Schedule A/B: 6.1


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                             page 1 of 4
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     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     3 televisions, dvd players,                                                                                            11 USC § 522(d)(3)
     computers, playstation and games
                                                                   $2,100.00                                 $1,050.00
     Line from Schedule A/B: 7.1                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Skateboards, misc. sporting goods                                                                                      11 USC § 522(d)(3)
     Line from Schedule A/B: 9.1
                                                                      $100.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Misc. clothing                                                                                                         11 USC § 522(d)(3)
     Line from Schedule A/B: 11.1
                                                                      $500.00                                  $250.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Wedding set and misc. costume                                                                                          11 USC § 522(d)(4)
     jewelry
                                                                      $600.00                                  $300.00
     Line from Schedule A/B: 12.1                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Capitol One Bank                                                                                                       11 USC § 522(d)(5)
     Line from Schedule A/B: 17.1
                                                                         $0.00                                    $0.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Capitol One Bank                                                                                                       11 USC § 522(d)(5)
     Line from Schedule A/B: 17.2
                                                                         $2.08                                    $2.08
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     401k Acosta, Inc.                                                                                                      11 USC § 522(d)(10)(E)
     Line from Schedule A/B: 21.1
                                                                   $1,500.00                                 $1,500.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     2017 Federal Income Tax Refund                                                                                         11 USC § 522(d)(5)
     Line from Schedule A/B: 28.1
                                                                      $534.00                                  $534.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     2017 Arkansas Income Tax Refund -                                                                                      11 USC § 522(d)(5)
     subject to set off
                                                                   $1,533.00                                   $766.50
     Line from Schedule A/B: 28.2                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Refund of Chapter 13 plan payments                                                                                     11 USC § 522(d)(5)
     Line from Schedule A/B: 30.1
                                                                   $3,090.00                                 $1,545.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $170,350
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 2 of 4
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 Fill in this information to identify your case:

 Debtor 1
                         First Name                         Middle Name                     Last Name

 Debtor 2                Kyra Anne Buschlen
 (Spouse if, filing)     First Name                         Middle Name                     Last Name

                                                    WESTERN DISTRICT OF ARKANSAS, FAYETTEVILLE
 United States Bankruptcy Court for the:            DIVISION

 Case number           5:18-bk-71902
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions.          11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

 Debtor 2 Exemptions
   Misc.household goods and                                                                                                       11 USC § 522(d)(3)
   furnishings including but not limited
                                                                      $5,020.00                                    $2,510.00
   to living room furniture, bedroom                                                         100% of fair market value, up to
   furnishings, misc. kitchenwares and                                                        any applicable statutory limit
   appliances, washer and dryer, patio
   furniture, dining room furniture,
   pump organ, misc. tools for
   household use, lawnmower
   Line from Schedule A/B: 6.1

      3 televisions, dvd players,                                                                                                 11 USC § 522(d)(3)
      computers, playstation and games
                                                                      $2,100.00                                    $1,050.00
      Line from Schedule A/B: 7.1                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit

      Skateboards, misc. sporting goods                                                                                           11 USC § 522(d)(3)
      Line from Schedule A/B: 9.1
                                                                          $100.00                                     $50.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit




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     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B
     Misc. clothing                                                                                                         11 USC § 522(d)(3)
     Line from Schedule A/B: 11.1
                                                                      $500.00                                  $250.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Wedding set and misc. costume                                                                                          11 USC § 522(d)(4)
     jewelry
                                                                      $600.00                                  $300.00
     Line from Schedule A/B: 12.1                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Capital One Bank                                                                                                       11 USC § 522(d)(5)
     Line from Schedule A/B: 17.3
                                                                       $49.92                                   $49.92
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Capital One                                                                                                            11 USC § 522(d)(5)
     Line from Schedule A/B: 17.4
                                                                         $0.04                                    $0.04
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     2017 Arkansas Income Tax Refund -                                                                                      11 USC § 522(d)(5)
     subject to set off
                                                                   $1,533.00                                   $766.50
     Line from Schedule A/B: 28.2                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Refund of Chapter 13 plan payments                                                                                     11 USC § 522(d)(5)
     Line from Schedule A/B: 30.1
                                                                   $3,090.00                                 $1,545.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




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